937 F.2d 622
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Ronald P. JENSEN, M.D., Plaintiff-Appellee,v.IOLAB CORP., Defendant-Appellant
    No. 91-1004.
    United States Court of Appeals, Federal Circuit.
    May 17, 1991.
    
      1
      Paul Keller, Harness, Dickey &amp; Pierce, Troy, Mich., for appellant.
    
    
      2
      Robert N. Meals, Culp, Guterson &amp; Grader, Seattle, Wash., for appellee.
    
    
      3
      DISMISSED.
    
    ORDER
    
      4
      The parties having so agreed, it is HEREBY ORDERED that the appeal proceeding is DISMISSED under Fed.R.App.Pro. 42(b).
    
    